










In The
Court of Appeals
Sixth Appellate District of Texas at Texarkana

______________________________

No. 06-05-00090-CR
______________________________


KERRY LARNEZ ROLLERSON, Appellant
&nbsp;
V.
&nbsp;
THE STATE OF TEXAS, Appellee


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

On Appeal from the 6th Judicial District Court
Lamar County, Texas
Trial Court No. 20523


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Memorandum Opinion by Justice Ross


MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Kerry Larnez Rollerson attempts to appeal his conviction and sentence for burglary of a
habitation.  The trial court's certification of Rollerson's right to appeal reflects that this was not a plea
bargain case and that Rollerson had the right to appeal.  The trial court imposed sentence February
25, 2005.


  No motion for new trial was filed, and Rollerson did not file his pro se notice of appeal
until April 1, 2005. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"The timely filing of a notice of appeal is jurisdictional in this court, and absent a timely filed
notice or extension request, we must dismiss the appeal."  In re K.M.Z., No. 2-04-374-CV, 2005 Tex.
App. LEXIS 690, at *2 (Tex. App.—Fort Worth Jan. 27, 2005, no pet.).  To perfect an appeal in a
criminal case, the defendant's notice of appeal must be filed within thirty days from the date the trial
court imposes sentence, unless a motion for new trial has been timely filed.  Tex. R. App. P.
26.2(a)(1).  In this case, Rollerson's pro se notice of appeal was untimely because it was not filed
until more than thirty days after sentence was imposed.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Nevertheless, an appellate court may extend the deadline for filing a notice of appeal "if,
within 15 days after the deadline for filing the notice of appeal, the party:  (a) files in the trial court
the notice of appeal; and (b) files in the appellate court a motion complying with Rule 10.5(b)."  Tex.
R. App. P.  26.3.  A motion for extension of time is also implied "when a party, acting in good faith,
files a notice of appeal within the fifteen-day period in which Rule 26.3(a) permits parties to file a
motion for extension of time to file their notice of appeal."  K.M.Z., 2005 Tex. App. LEXIS 690, at
*2 (citing Verburgt v. Dorner, 959 S.W.2d 615, 617 (Tex. 1997)); and accord Jacobs v. State, 115
S.W.3d 108, 111–12 (Tex. App.—Texarkana 2003, pet. ref'd) (granting implied motion for
extension, otherwise late notice of appeal was timely filed).  Accordingly, if Rollerson timely filed
an extension request with this Court no later than April 13, 2005 (the fifteenth day following the last
date to timely file a notice of appeal), then we have jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The certificate of service on Rollerson's motion for extension to file a late notice of appeal
shows a date of May 2, 2005, a date that is several weeks beyond the deadline for seeking an
extension to file a notice of appeal.  The motion and the notice of appeal, therefore, were both filed
too late to confer jurisdiction on this Court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For the reasons stated, we dismiss the appeal for want of jurisdiction.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Donald R. Ross
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;May 10, 2005
Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;May 11, 2005

Do Not Publish




State, 926 S.W.2d 300, 302
(Tex. Crim. App. 1996); Escobar v. State, 28 S.W.3d 767, 779 (Tex. App.--Corpus Christi 2000,
pet. ref'd); Caldwell, 971 S.W.2d at 666.

	A jury is authorized to convict based on the application portion of a charge; an abstract
charge on a legal theory does not bring that theory before the jury unless the theory is applied to the
facts.  McFarland v. State, 928 S.W.2d 482, 515 (Tex. Crim. App. 1996); Campbell v. State, 910
S.W.2d 475, 477 (Tex. Crim. App. 1995).  If the application paragraph of a jury charge does not
incorporate a theory recited only in the abstract portion of the charge, a jury cannot convict on that
theory.  Hughes v. State, 897 S.W.2d 285, 297 (Tex. Crim. App. 1994); Mallard v. State, 162
S.W.3d 325, 334 (Tex. App.--Fort Worth 2005, pet. ref'd).

	To consider alleged charge error, we must determine (1) whether error actually exists in the
charge, and (2) whether any resulting harm requires reversal.  Mann v. State, 964 S.W.2d 639, 641
(Tex. Crim. App. 1998); Escobar, 28 S.W.3d at 779; Duke v. State, 950 S.W.2d 424, 426 (Tex.
App.--Houston [1st Dist.] 1997, pet. ref'd) (citing Almanza v. State, 686 S.W.2d 157, 171 (Tex.
Crim. App. 1984)).  That determination must be made by examining the charge as a whole,
considering the interplay between the abstract or definitional part of the charge and the application
portion--the portion that applies the law to the facts of the case.  Plata, 926 S.W.2d at 302,
overruled on other grounds, Malik v. State, 953 S.W.2d 234 (Tex. Crim. App. 1997); Caldwell, 971
S.W.2d at 666; White v. State, 610 S.W.2d 504, 507 (Tex. Crim. App. 1981); Escobar, 28 S.W.3d
at 779.  The meaning of a jury charge must be taken from the whole charge. Plata, 926 S.W.2d at
302; Warfield v. State, 974 S.W.2d 269, 271 (Tex. App.--San Antonio 1998, pet. ref'd); Caldwell,
971 S.W.2d at 667.  Our review should not be limited to just one part of the charge standing alone. 
Ybarra v. State, 890 S.W.2d 98, 106 (Tex. App.--San Antonio 1994, pet. ref'd). When the jury
charge, considered together, is sufficient to present the applicable law and to protect the defendant's
rights, we should not reverse the judgment on that basis.  Parker v. State, 594 S.W.2d 419, 424 (Tex.
Crim. App. 1980).  Our review of the entire jury charge leads us to conclude that the charge, as a
whole, presented the applicable law sufficiently to protect Martin's rights.  Though the abstract
portion of the charge is questionable, the application portion essentially tracks the indictment. (7)  We
find no error in the challenged aspects of the charge.

	Even if there were error, there was no harm.  Because Martin objected to the charge, if there
was error in the definitional portion of the charge, we search for only some harm.  Abdnor v. State,
871 S.W.2d 726, 732 (Tex. Crim. App. 1994); Davis v. State, 967 S.W.2d 476, 479 (Tex.
App.--Beaumont 1998, no pet.).  "The presence of any harm, regardless of degree, which results
from preserved charging error, is sufficient to require a reversal of the conviction."  Arline v. State,
721 S.W.2d 348, 351 (Tex. Crim. App. 1986).

	An erroneous definitional section of a jury charge can be "saved" by a proper application
section.  An abstract statement of the law that goes beyond the allegations in the indictment
ordinarily will not present reversible error because such expansions on the indictment's allegations
are effectively restricted by the charge's application of the law to the facts, which limits the jury's
deliberations to the allegations in the indictment supported by evidence.  See Sandig v. State, 580
S.W.2d 584, 586 (Tex. Crim. App. 1979); Thompson v. State, 12 S.W.3d 915 (Tex.
App.--Beaumont 2000, pet. ref'd).  That same concept would apply here.  The questionable wording
of the abstract definitional paragraph was effectively restricted by the application paragraph, thus
limiting the jury to deliberate on the crime alleged in the indictment.

	The way the application paragraph focused the jury on Martin's annual verification
requirement, and on the date of his 2004 verification as the date of the offense, eliminated any danger
that a juror might vote to convict Martin for a simple failure to report a change of employment in
some other way or at some other time.  In a harmless error analysis matching a definitional-section
error in a jury charge with a correct application paragraph, it was determined there was no danger
of a conviction based on the abstract section, in the face of the application section.  See Navarro v.
State, 863 S.W.2d 191, 196 (Tex. App.--Austin 1993), pet. ref'd, 891 S.W.2d 648 (Tex. Crim. App.
1995).  We reach the same conclusion here:  there was no harm.

	We find no validity, either, in the specific language of Martin's complaints about the charge
as given, either that the charge failed to define two different crimes set out by the indictment or that
there was an improper variance between the indictment and the jury instruction.  By our reading, the
indictment, as well as the application paragraph of the jury charge, set out only one crime.  Also,
comparing the indictment with the application paragraph of the charge reveals nothing of the
complained-of variance.

	We overrule Martin's multifarious point of error complaining of the jury charge.

(2)  The Evidence Is Legally Sufficient to Support Martin's Conviction

	After reviewing the parties' initial briefs, the applicable law, and the evidence, we asked the
parties to provide supplemental briefing on the question of whether the evidence is factually and
legally sufficient to support Martin's conviction.  After analysis of that briefing and careful review
of the evidence, we conclude that, while the evidence is legally sufficient, it is factually insufficient
to support the conviction in this case.

	In reviewing the legal sufficiency of the evidence, we view all of the evidence in the light
most favorable to the verdict and determine whether any rational trier of fact could have found the
essential elements of the crime beyond a reasonable doubt.  Johnson v. State, 23 S.W.3d 1, 7 (Tex.
Crim. App. 2000).

	Debra Miears, Director of Wood County Community Supervision and Corrections
Department, has been with the department for twenty-six years and specializes in the supervision of
sex offenders.  Miears had only limited dealings with Martin, having met with him only in 1997
when Martin was first placed on community supervision.  Miears testified about the extensive
information required on initial registration and about the notification procedures in which an
individual is given detailed instructions on the registration requirements.  Miears informed Martin
that he had to register for life and had to report a change of address within seven days.  She also
informed him that he was required to report a change in employment. (8)  

	On cross-examination, Miears confirmed that the verification requirement relates to the sex
offender registration form maintained by Wood County.  She also testified that Martin's duty was
to come in on an annual basis to verify the information in the sex offender registration form and that
the failure to come in to verify the information in the sex-offender registration form constitutes a
violation of the registration requirements.  

	Shirley Boddie was the office manager and had payroll responsibilities for Martin's former
employer, Boddie's Roofing.  She testified that Martin worked for them in January 2002 and then
again from May 2002 to June 2003.  From Boddie's uncontradicted testimony, it is apparent that
Martin worked for that company at the time of his 2003 verification, but not at the time of his 2004
verification.

	Debbie Foster, the Chief Deputy of the Wood County Sheriff's Office, initially insisted that
the "Sex Offender Update Form" from 2004 was a sex-offender registration form, but later relented
and agreed that it was, in fact, an update form.  Upon further cross-examination, Foster also
distinguished between the information contained on the sex-offender registration form and the
information required on the sex-offender update form, the former being much more extensive than
the latter.  

	The central witness in this case is Misty Holland.  Holland was the former Wood County
clerk responsible for sex-offender registration.  As such, Holland was the verification official who
oversaw Martin's completion and execution of the March 24, 2004, update form involved in this
case--and also the April 1, 2005, update form involved in the companion case now on appeal to this
Court.

	According to Holland, she received specialized training in sex-offender registration from the
DPS and used the forms provided by them.  Holland explained that she understood a change of
employment must be reported within seven days--testimony risking confusion concerning the crime
being prosecuted.

	Holland testified that, in accordance with her training, she instructed registrants, and
specifically Martin, that the above-referenced blanks in the update form should be completed only
if there had been changes in that information from the prior year's update form. (9)  She agreed that she
referred to the 2003 update form to complete the 2004 update form and explained the procedure
Wood County follows when a person reports for annual verification: 

		[DEFENSE]:  What is your training as to when to fill out this information [on
the sex-offender update form]?


		[HOLLAND]: Okay.  The only time we fill out anything in the blanks is if
there is a change, like a change of address or a change of employment, vehicle
change.  And since we went over [the 2003 update form], there was no change so
there was nothing in [the 2004 update form] that I filled out.


So, according to Holland, the registrant need only fill out information on the update form if there is
a change from the previous year's update form.  Holland explained that Wood County measured
changes by comparing the update form to the update form filled out the previous year.  The State
referred to this procedure as "an annual update" even though there is no statutory procedure so
labeled. (10)  

	Holland interpreted the 2003 update form to indicate that, on March 29, 2003, Martin lived
at 1422 Broad Street in Mineola and worked at Boddie's Roofing.  To Holland, the 2003 form also
indicated that, since completing the 2002 update form, Martin had experienced a change in
employment to Boddie's Roofing. (11)  Though Holland was not asked about any change of residence
indicated by the 2003 form, presumably she would have been consistent in her testimony and said
that the 2003 update form would be properly interpreted to indicate that Martin had also changed his
residence during the period elapsed between his completion of the 2002 and 2003 update forms. 
But, we note, the 2002 update form and each annual update form before that, all the way back to the
original registration form, had reflected the same address at 1422 Broad Street in Mineola. (12) 

	We also note a similar phenomenon as to Martin's reported telephone number.  In the original
registration form and in the updates for 2000 and 2001, Martin's telephone number was listed as the
same number.  In the 2002 update form, it was changed to a different number, but that same, changed
number was reflected in the 2003 form, as well.  If only changes were to be entered into that blank
from year to year, the forms would have been filled out differently.

	Based on the way the update forms were filled out over the years for which exhibits are in
the record, the policy in place, before Holland began her role as verification officer, appears to have
been to report the information in the update forms if there was any information to report, not just
when the information changed. 

	Significantly, when Martin reported to Holland March 24, 2004, Holland did not give him
the sex-offender registration form to verify.  She agreed that, because she did not give him the sex-
offender registration form, Martin would not be able to verify that the sex-offender registration form
was "complete and accurate."  She explained that supplying the sex offender with the registration
form was not a part of the procedure that Holland was directed to follow.  Instead of being given the
registration form to verify the information on it, Martin was to compare his current information to
the information on last year's update form and, in 2004 and 2005, complete the information on the
update form only if any change were indicated. (13) 

	Holland testified that she did not believe there was a difference between someone registering
in the first place and that person verifying his or her information annually, but she also conceded that
the failure to verify the information on the sex-offender registration form and failure to report a
change are separate offenses. "That's completely, that's a different offense than failing to verify the
information in the registration form received by the Wood County Sheriff's Department."  Looking
at Defense Exhibit 1, Holland recognized the document as the "original or the sex offender
registration form."  She agreed that Defense Exhibit 1 is the sex-offender registration form that is
received by the Wood County Sheriff's Department from the DPS.  

	With the foregoing in mind, we focus on the crux of the proof in this matter.  The evidence
demonstrates that Martin's 2003 update form reflected his "occupation" as "roofer" and his
"employer" as "Boddie's Roofing."  Holland testified that, pursuant to her training, such 2003
information meant that Martin's occupation and employer had changed to that status since his 2002
update form.  The evidence further demonstrates that Martin's 2004 update form reflected a blank
for his "occupation" and "employer."  According to Holland, that meant that Martin still worked as
a roofer for Boddie's Roofing, not that he was unemployed at the time of the 2004 update. 
Uncontradicted evidence established that Martin, in fact, had worked for Boddie's Roofing at the
time of his 2003 update but was unemployed at the time of the 2004 update.

	One unavoidable question raised by the foregoing evidence is whether evidence that only
update forms such as those used here, rather than any registration form, were used for annual
verification purposes can be legally sufficient to support a conviction.  Martin argues on appeal that
the State was required to give him a registration form each year before it could prove the felony that
Martin failed to verify his information.  While the statutory scheme undoubtedly contemplates that
a registration form, not an update form, will be used for each verification, the requirement Martin
has been convicted of breaching is the obligation to verify specific "information in the registration
form" (emphasis added), not a failure to verify the registration form itself. (14)

	We also note that the SORP does not explicitly provide a sex offender any defense for a
failure by the State to do any particular act, such as delivering him or her a particular form.  Varnes
v. State, 63 S.W.3d 824, 828-29 (Tex. App.--Houston [14th Dist.] 2001, no pet.).  Instead, with few
exceptions, the burdens are placed on the offender.

	Absent explicit legal authority that the registration form itself must be used to support proof
of any felony for failure to comply with sex-registration requirements, we will not engraft that
requirement onto the already quite detailed statutory scheme or interpret the statutory scheme in that
fashion.  Such a step is for the Legislature or the Texas Court of Criminal Appeals to take, if it is to
be taken.

	According to Holland's explanation of the procedure and instructions followed, Martin would
have looked at the 2003 form and, by leaving the 2004 form blank, effectively represented that he
was still employed at Boddie's Roofing.  The evidence shows that he was not; Boddie testified that
Martin last worked at Boddie's Roofing in June 2003.  In other words, according to Holland, Martin
gave inaccurate information relating to a required disclosure on the sex-offender registration form
by representing that he was still employed at the roofing company.  Holland testified that she asked
Martin if any of the information on the 2003 form had changed, to which question Martin indicated
nothing had changed.  Giving this false information concerning his employment status undermines
the purpose of the verification requirement and the sex-offender registration program's goal of
maintaining accurate, updated information on those required to register.

	Although the record contains evidence contrary to the jury's verdict, evidence that we
examine more closely next, a rational juror could have found each element of the offense of failure
to comply with the sex-offender registration requirements in the form charged here.  Viewing the
evidence in a light most favorable to the verdict, we conclude that the evidence is legally sufficient
to conclude that Martin failed to comply with sex-offender registration requirements when he chose
to leave blank the employment-related questions on the 2004 update form.

(3)  The Evidence Is Factually Insufficient to Support Martin's Conviction

	In a factual sufficiency review, we review all the evidence, but do so in a neutral light and
determine whether the evidence supporting the verdict is so weak or is so outweighed by the great
weight and preponderance of the evidence that the fact-finder's verdict is clearly wrong or manifestly
unjust.  Roberts v. State, 220 S.W.3d 521, 524 (Tex. Crim. App. 2007); Marshall v. State, 210
S.W.3d 618, 625 (Tex. Crim. App. 2006); Watson v. State, 204 S.W.3d 404, 414-15 (Tex. Crim.
App. 2006); Clewis v. State, 922 S.W.2d 126, 134 (Tex. Crim. App. 1996).  In a factual sufficiency
review, we are to afford "due deference" to a fact-finder's determinations.  Marshall, 210 S.W.3d at
625.  Although an appellate court reviewing factual sufficiency has the ability to second-guess the
fact-finder to a limited degree, the review should still be deferential, with a high level of skepticism
about the fact-finder's verdict required before a reversal can occur.  Roberts, 220 S.W.3d at 524.

	Casting a neutral light on the evidence changes the analysis.  

	The State asserts that the update form is sufficient and that, in completing the update form,
the blanks for driver's license, address, occupation, and employer would be completed only if those
bits of information had changed since the last update form.  If that is so, and given the record's
suggestion that such apparently rests entirely on orally communicated policies and instructions, how
is one to know what information to report and how to report it?  Should compliance be measured by
the express wording of the form being used, in this case the update form?  If the update form is to
reflect changes, is it to reflect changes from the latest update form or from the latest registration
form?  Is the gravamen of the crime lying to whatever officer is chosen to take the registrant's
verification, or is it improperly completing a form based on the express wording of the form?  And,
if the instructions given by the officer conflict with the express language in the form, which should
control?  Should an offender be forced to decide between conflicting instructions at the risk of
another felony conviction and jail time?  We have been unable to find any caselaw that answers any
of those questions, or any reported case discussing a violation of the annual verification requirement
based on allegedly incorrect information given.  All other reported cases involve a registrant's failure
to appear on a timely basis for verification.

	Miears agreed that the verification requirement relates to the information in the sex-offender
registration form.  If the update information is to be compared with the original registration form,
the sex-offender registration form shows that, in early 2000, Martin had no employer.  That was also
reflected in Martin's 2000 and 2001 update forms:  blanks for the employment-related information,
indicating either no change from the initial unemployment or indicating that, in each case, there was
no employer to report.  The 2002 update form reflects Martin's "occupation" as "machinery" and
"employer" as "Greeding Construction."  As we have noted, the 2003 update form reflects Martin's
occupation as "roofer" and his "employer" as "Boddie's Roofing."  

	Through the completion of the 2003 update form, it did not matter whether the employment-related information should have reflected only changes in employment or  should have reflected the
current status of Martin's employment.   Nor did it matter until then whether the update form in any
year should be compared to the original registration form or the prior year's update form.  But then,
between the 2003 and 2004 updates, Martin's employment status changed from employed to
unemployed.  If the 2004 update form should have been completed as the form called for, that is, to
reflect the current status of Martin's employment rather than a change, the unemployed Martin would
have appropriately left those spaces blank.  If the update form should reflect only changes, but those
should be changes from the original registration form, the employment spaces should have been
blank as well.  If, however, as Holland testified, the 2004 update form should have been completed
contrary to the express terms of the form, and the 2004 form compared to the 2003 form, Martin
misreported his employment status on that form by leaving the spaces blank.

	Testimony that contradicts the conclusion drawn from the forms is Holland's description of
Wood County's procedure which, in a neutral light, seems not only inconsistent with the express
requirement of the statute (15) and the express wording of the update form, but also a change of policy
from prior years and internally inconsistent.  Put another way, the evidence that shows that Martin
gave inaccurate information during his verification procedure comes in the form of Holland's
testimony which contradicts the conclusion drawn from a faithful application of the plain language
of the statute and that of the update form.  Testimony that Martin gave inaccurate information when
he arrived at the Wood County Sheriff's Department is undermined when the record suggests that
Wood County followed an inconsistent procedure, one that diverges from the specific statutory
procedure. (16)   This is not evidence on which this conviction may stand.  It is on this principle that
we exercise our limited ability to second-guess the jury and express an appropriately high degree of
skepticism about the jury's verdict.  We conclude that Holland's testimony, the evidence supporting
the verdict, is so weak or is so outweighed by the great weight and preponderance of the evidence
that the fact-finder's verdict is clearly wrong or manifestly unjust.






	We reverse and remand this case to the trial court for further proceedings consistent with this
opinion.



							Josh R. Morriss, III

							Chief Justice


Date Submitted:	October 24, 2007

Date Decided:		April 25, 2008


Publish

1. After being on deferred adjudication community supervision and later having been found
to have violated the terms of that community supervision, in 1998, Martin was adjudicated guilty of
indecency with a child by contact and sentenced to two years' confinement.  He was released in 2000. 
2. As of September 1, 2005, Chapter 62 of the Texas Code of Criminal Procedure was
redesignated as Tex. Code Crim. Proc. Ann. arts. 62.001, et seq., and amended by Act of May 26,
2005, 79th Leg., R.S., ch. 1008,  1.01, 2005 Tex. Gen. Laws 3385.  Because Martin was engaged
in the conduct at issue prior to September 1, 2005, all references to the Texas Code of Criminal
Procedure herein reference the law in effect before the 2005 amendment.
3. This appeal deals with Martin's conviction in trial court cause number 19,347-2006 for
failure to verify in 2004.  In a companion case, appellate case number 06-06-00233-CR, trial court
cause number 19,346-2006, Martin was convicted of failure to comply with sex offender registration
requirements &nbsp;for &nbsp;his &nbsp;alleged &nbsp;failure &nbsp;to &nbsp;verify &nbsp;and &nbsp;failure &nbsp;to &nbsp;report &nbsp;a &nbsp;change &nbsp;of &nbsp;employer &nbsp;on
March 24, 2005.  
4. We may overrule any multifarious or inadequately briefed point of error. See, e.g., Graff v.
Berry, No. 06-07-00058-CV, 2008 Tex. App. LEXIS 2069, at *3-4 (Tex. App.--Texarkana Mar.
18, 2008, no pet. h.); Foster v. State, 101 S.W.3d 490, 499 (Tex. App.--Houston [1st Dist.] 2002,
no pet.); McGuire v. McGuire, 4 S.W.3d 382, 385 (Tex. App.--Houston [1st Dist.] 1999, no pet.);
Hollifield v. Hollifield, 925 S.W.2d 153, 155 (Tex.  App.--Austin 1996, no writ); H.B. Zachry Co.
v. Ceco Steel Prods. Corp., 404 S.W.2d 113, 133 (Tex. Civ. App.--Eastland 1966, writ ref'd n.r.e.);
see also Tex. R. App. P. 38.1.  But see Chimney v. State, 6 S.W.3d 681, 688 (Tex. App.--Waco
1999, pet. ref'd).  Although Martin's first point of error is multifarious, we address his arguments in
the interest of justice.
5. The State concedes it did not charge Martin with this type of failure to report a change of
employment.  See Tex. Code Crim. Proc. Ann. art. 62.05.
6. The referenced phrase in paragraph I of the charge failed to give details of either way a
failure to report a change in employment can be a violation.  It describes neither the periodic
verification requirement nor the seven-day period within which a change of employment must be
reported.  It is simply an incomplete description of either.
7. The only difference between the language of the indictment and that of the application
portion of the charge is that the indictment sets out three alleged mental states--intentional,
knowing, and reckless--in the conjunctive ("and"), while the charge sets them out in the disjunctive
("or").  Martin does not complain about that difference.
8. It appears that, during trial, the State allowed some confusion into the trial in the form of
testimony which focused not on Martin's failure to disclose his change of employment as part of his
annual verification, but instead on the failure to report a change of employment within seven days
after that change.  In response to redirect examination, Miears testified that sex offenders are
required to notify law enforcement of a change in their address or employment within seven days of
that change.  Consistent with the law, Miears conceded that the failure to report a change of
employment is a separate offense and that failure to verify the information in the sex-offender
registration form is in itself an offense. 
9. The record suggests that Wood County treats this matter more as a failure by Martin to
verify his previous update forms, which is not an enumerated requirement under the SORP.  The
procedure actually followed with Martin over the years is internally inconsistent as well, since the
2003 form by which all changes are measured in 2004, according to Holland, has all the blanks
completed.  The daunting nature of that task is vividly illustrated by our opinion in Martin v. State,
cause number 06-06-00233-CR, in which, according to this procedure in the following year (2005),
Martin would have had to compare then-current information to the blank 2004 update form and make
changes not knowing precisely what the blanks meant.


	We are troubled by the practice described by Holland, that is, comparing the current update
form with only the update form from the prior year.  If, in any year, the prior year's update form
actually had data in the relevant blanks, as was the case in this matter, a change from that reported
data could be properly reflected.  But if the prior year's update form had a blank, indicating,
according to Holland, no change in that data from the prior year, both the registrant and the
verification officer would have been without proper information with which to complete the current
update form.  They would be comparing a current status of employment or address or telephone
number, for example, with a blank indicating that in the prior year's form no change in that
information had been reported.  They would be forced to rely on memory of what had been done in
past years and what the facts reflected in those years.  Such difficulty would be avoided by following
the statute's contemplated procedure of using the registration form at the time of each periodic
verification, rather than an update form.
10. At trial, testimony concerning the various forms and requirements became confused; some
witnesses often used terms such as "verification," "update," "registration," and "reporting"
interchangeably.
11. Holland also testified that offenders such as Martin are required to register within seven
days of their birthday each year. She was incorrect, in that the period within which an annual
registrant is to verify his or her information is thirty days on either side of his or her birthday.
12. The original registration form had reflected that the address was on "W Broad St.," while
all the other entries omitted the "W."  We ignore that minimal difference for these purposes.
13. On cross-examination, Holland agreed with defense counsel's assessment that the "official"
sex-offender registration form and the 2004 update form are consistent in that no employer is listed
on either.  
14. It should also be noted that the indictment and the jury charge also referred to the offense
as failing to verify the "information in the registration form," not a failure to verify the registration
form itself.
15. The statute outlines the procedure to be followed:

  

	A local law enforcement authority with whom a person reports under this article shall
require the person to produce proof of the person's identity and residence before the
authority gives the registration form to the person for verification.  If the information
in the registration form is complete and accurate, the person shall verify registration
by signing the form.  If the information is not complete or not accurate, the person
shall make any necessary additions or corrections before signing the form.


Tex. Code Crim. Proc. Ann. art. 62.06(c).
16. We recognize there may be a number of reasons why the procedure here departs from the
statutory provisions.  Perhaps, the procedure was implemented incorrectly.  Or, perhaps, Holland
made a procedural mistake in her former job.  We add that some time had passed between Martin's
March 2004 visit and trial in August 2006; Holland may have an imperfect recollection of the
procedure she was directed to follow at her former position.  Nonetheless, the record demonstrates
that an irregular procedure was followed with respect to Martin's attempts to verify his sex offender
registration form.


